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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

                                                        :   Civil Action No. 19-cv-21495(KM)(JBC)
TRAVELODGE HOTELS, INC., a Delaware
Corporation,                                            :
                                                               FINAL JUDGMENT BY DEFAULT
                   Plaintiff,                           :
v.                                                      :

ELITE HOTEL MANAGEMENT, LLC, a                          :
Michigan Limited Liability Company; ALAN
WAZNY, an individual; NAINESH PATEL, an                 :
individual; and YOUSEF HAMO, an individual,
                                                        :
                                   Defendants.
            This matter having been opened to the Court by plaintiff, Travelodge Hotels, Inc. (“THI”),

by its attorneys, Connell Foley LLP, seeking the entry of Final Judgment by Default against

defendants, Elite Hotel Management, LLC, Alan Wanzy, Nainesh Patel, and Yousef Hamo

(collectively, the “Defendants”), pursuant to Fed. R. Civ. P. 55(b)(2); and it appearing that the

Complaint in this matter was filed on December 18, 2019, seeking damages as a result of the breach

of a franchise agreement between THI and Elite Hotel Management, LLC; and service of the

Summons and Complaint having been effectuated with respect to defendant Yousef Hamo by

personally serving him in Oak Park, Michigan on January 17, 2020; and service of the Summons

and Complaint having been effectuated with respect to defendant Alan Wanzy by personally serving

him in Saginaw, Michigan on January 31, 2020; and service of the Summons and Complaint having

been effectuated with respect to defendant Elite Hotel Management, LLC, by serving its authorized



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representative in Saginaw, Michigan on January 31, 2020; and service of the Summons and

Complaint having been effectuated with respect to defendant Nainesh Patel by personally serving

him in Saginaw, Michigan on February 23, 2020; and it appearing that default was duly noted by

the Clerk of the Court against Defendants on May 13, 2020 for their failure to plead or otherwise

defend in this action; and the Court having reviewed the papers; and good cause having been

shown:

            IT IS on this 19th day of October, 2020,

            ORDERED, ADJUDGED, AND DECREED that THI have judgment against

Defendants, jointly and severally, in the total amount of $190,486.29, comprised of the following:

                   a. $139,020.80 for liquidated damages (principal plus prejudgment interest);

                   b. $40,884.39 for Recurring Fees (principal plus prejudgment interest); and

                   c. $10,581.10 for the balance due on the Note (inclusive of prejudgment interest).




                                           /s/ Kevin McNulty
                                          _________________________________________________
                                          HONORABLE KEVIN McNULTY, U.S.D.J.




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